   Case 5:20-cv-05023-LLP Document 1-2 Filed 04/03/20 Page 1 of 24 PageID #: 9
                                      EXHIBIT
                                          A
             STATE OF SOUTH DAKOTA IN CIRCUIT COURT

         COUNTY OF LAWRENCE, FOURTH JUDICIAL CIRCUIT


 MATT NASUTI,                                 1 Civil Action No. c ASe iLed. 3/3/2D
                                                                        Ase
                    Plaintiff,                1                       141. l'caT   AVAILA(5Le-

. vs.
                                              §       SUMMONS

. WALMART, INC.,

                    Defendant.



 .TO THE ABOVE -NAMED DEFENDANT:

         YOU ARE HEREBY SUMMONED and required to serve upon Plaintiff,
  Matt Nasuti, whose address is 810 North Main Street, #221, Spearfish, S.D. 57783,
  an. answer or other proper response to the Complaint which is also herein served on
  you this date. You are also required to file your answer or other proper response
  with the office of the clerk of the Circuit Court of the Fourth Judicial Circuit in
 •Deadwood (County of Lawrence, State of South Dakota), all within 30 days after
  service of the summons on you, exclusive of the date of service.
                                                                                              4.1
                                                                                        '1.         •

        If you fail to do so, judgment by default will be taken against you for the
 relief demanded in the Complaint.

       The Complaint seeks monetary, declaratory and injunctive relief, along with
 other prayed for judicial orders.

 Dated this 3rd day of March, 2020.




                    Matt Maud, Plaintiff
                    810 North Main Street, #221
                    Spearfish, South Dakota, 57783
                    (413) 772-9802 (no voicemail)
                    mattnasuti@jhotrnail.corn
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                  STATE OF SOUTH DAKOTA IN CIRCUIT COURT

             COUNTY OF LAWRENCE, FOURTH JUDICIAL CIRCUIT

    MATT NASUTI,                                          I Civil Action No.
                                                                                   •
                     Plaintiff,                           g Complaint for Unlawful
                                                          g Employment Termination
    VS.
                                                          1
                                                          § Request for Jury Trial
    WALMART, INC.,

                       Defendant.



                                  STATEMENT OF JURISDICTION

    1.     The Lawrence County Circuit Court has original jurisdiction over the causes of action: It

    has personal jurisdiction over the parties, and it is the correct venue as all elements of the offense

    occurred within this comity and both parties reside and/or conduct business within this county.

•   2.     Plaintiff is a South Dakota resident currently residing in Spearfish, S.D.

    3.     Defendant is a Delaware corporation, licensed to conduct business in South Dakota, with

    its headquarters located at 708 SW 8Ih Street, Bentonville, Arkansas 72716. It conducts business

    in numerous South Dakota locations including: 2825 1ST Avenue, Spearfish, S.D. 57783.

                                                SUMMARY

    4.     On March 2, 2020, Plaintiff, an Assistant Store Manager for Wal-Mart in Spearfish, was

    summarily fired after months of retaliation by Store Manager Corey }felting and four local

    corrupt Wal-Mart officials. This was in direct and sole response to his efforts to convince

    Meiling, a bully, to cease his abusive conduct toward multiple male and female employees. That

    abusive conduct included workplace violence of various types, discrimination against female

    employees, and just mean and cruel conduct.
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5.     Internal .efforts at the Corporate level to investigate all of this were rebuffed as Plaintiff

could not locate any Corporate official willing to authorize an investigation. The retaliation

against Plaintiff dramatically increased after he elevated Heiting's unethical and unlawful

conduct to.corporate officers at Wal-Mart's headquarters in Bentonville, Arkansas.

6.     This lawsuit provides the Court and jury with an insider's view of the abusive and

unlawful environment of Wal-Mart. It correspondingly will permit both to do a lot of good for a

lot of wonderful people. These employees have no voice and no reasonable option other than to

suffer in their low-pay, high stress positions, turning the other cheek to Management abuses and

corporate indifference. The male and female victims of this Store Manager and his group

continued to be Abused., They have no credible remedies against this colossal corporate with its

armies of lawyers. It is a monstrously uneven playing field.

                        GENERAL BACKGROUND ALLEGATIONS

8.     On August 26, 2019, Plaintiff, a former USAF Captain, was hired as an Assistant Store

Manager at Wal=Mart store #1543 (Spearfish, S.D.) at an annual salary of $48,500.00.

9.     Wal-Mart,. Inc. is perhaps the largest employers in Spearfish (approximately 300

employees) and has monopoly power throughout South Dakota in violation of Title 37, Chapter

1. This monopoly Power, coupled with an intolerant, abusive and retaliatory management

struCture, means that it has a largely cowed workforce (especially among females), as peopld are

fearful of losing their jobs if they speak up.

10.    Wal-Mart hires most employees at $12/hour, while its competitors, such as Whole Foods,

start employees at $15/hour. Wal-Mart grudgingly awards most of its employees at most a 2%

annual •pay raise: With the 2019 Social Security Administration cost of living (COLA)

calculated at 2.8%, that means that almost every Wal-Mart employee is losing money every year



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 they stay at Wal-Mart. In contrast, Assistant Managers can earn up to about a $9,000 bonus per

year as the company is flush with money.

 11.    Wal-Mart has a new Soifiet-inspired policy called "Better Wotkday" in which the

workforce will be cut in Spearfish, with the remaining employees saddled with a larger daily

•workload, for less money. It is "better" only for corporate finances. Under these hostile policies,

 the stores can only function with ever increasing draconian and anti-union management, coupled

 with upper management indifference. That recipe for abuse is the background to this case.

         INTRODUCTION TO WALMART CORPORATE "INVESTIGATIONS"

 12.    All Wal-Mart company "investigations" appear to be conducted by its ethics office. The.

 victim files theit complaint and is never advised of the results and findings. If any investigation

is conducted, it is superficially and non-credibly carried out by telephone. Everything is.

 conducted in secret and covered-up, regardless of whether the complaint is about:

        (1)     Sexual harassment or abuse;
        (2)     Racial or other discrimination;
        (3)     Management union-busting efforts;
        (4)     Money laundering through our money transfer systems;
        (5)     Drug dealing;
        (6)     Workplace violence;
        (7)     Alecihol sold to minors;
        (8)     Missing ammunition; or
        (9)     Illegal gun sales.

 13.    This secrecy policy is company-driven, not legally mandated. After filing his ethics

 complaint. Plaintiff was ordered by Wal-Mart official Kristi Yarnall not to contact or attempt to

 locate any witnesses for his side! This "Gag-Rule" bars employees from discussing and warning

 other employees of a wide range of misconduct, threats, crimes and other unlawful behavior that

 might directly impact them, their safety and their welfare. It is so smothering that an employee

 or manager is barred from hiring counsel and sharing any details with them! Wal-Mart's HR



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policies compromise workplace and public safety, and therefore violate public. policy. This is

especially true in the case of Wal-Mart as it.has monopoly power, no formal personnel manual

and'no'credible internal audit practices.

        These types of blanket secrecy and un-transparency policies have not fared well legally.

When challenged, they have been repeatedly reversed or modified, which remedy is sought In

this action.

14.     Wal-Mart's Open Door/Ethics Complaint policy is simply a contrivance. It creates the

appearance that management abuses can be safely reported and will be investigated. The ,goal is

to tamper down union-attractiveness by creating the illusion that unions are not .needed because

Wal-Mart -"cares." As a contrivance, it violates S.D. code section 60-9A-12.

                            THE SUSPECTS / CO-CONSPIRATORS

        Corcylieiting:          Spearfish Wal-Mart Store Manager

       -Joshua Helm:             Spearfish Wal-Mart Store Co-Manager

        Manny Schryvers: Spearfish Wal-Mart Store Co-Manager

        Ardie Wardell:           Wal-Mart Market 430 Manager (Sioux Falls)

        Kacie Hall:              Wal-Mart Market 430 Human Relations Manager (Sioux Falls)

                                              TIMELINE
Mid-October -            Plaintiff began advising Store Manager Heiting verbally and in e-mails to

February:                reverse his continuing abuse of two female supervisors.

                       1-kiting's conduct included discriminating against a female supervisor on

                         the basis of her sex (refusing to transfer her within the store, yet at the

                         same time he transferred a male employee who was in the same situation)

                         and then employing a disturbing hostility.toward the female employee

                         with punishing personnel decisions.

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                 Hciting was also intentionally and abusively keeping another female

                 supervisor in a store job that, due to her medical conduction, was causing'

                 her daily physical pain and suffering due to day-long heavy lifting.

                 That was just cruel and amounted to work-place violence. This abuse

                 would later expand to include his indifference toward another employee

                 Who was subject to another verbally abusive and hostile male

                 manager. It was so abusive that the employee was reduced to tears.

                 licking and his group refused to transfer the,employee out of harm's way.

Jan. 10th &      In retaliation against Plaintiff for his efforts, Hefting and his Co-Managers

Feb. is'         manufactured two counselings against him for alleged work performance

                 issues that never occUrred. Heiting and company never reduce either to

                 writing because the "misconduct" never occurred.

February 3th:    Plaintiff emaited Heiting to report more abuse of store employees and was

                 called into yet another counseling session by Heiting and company.

February 14th:   Heiting and his Co-Managers issued Plaintiff a substandard evaluation,

                 which denied him a pay raise. It violated numerous Wal-Mart policies,

                 including that it does not explain why this punitive action is being taken.

February 18th:   Plaintiff filed an Ethics Complaint against Heiting & his Co-Managers

                 with Wal-Mart's ethics office and .it's Executive VP for Personnel.

                 Defendants are immediately made aware of the filing.

February 24th:   Heiting and his Co-Managers issued Plaintiff an "Orange" Ethics

                 Disciplinary Citation in retaliation for his ethics complaint. The document




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                       on its face reveals no ethics violation. It was simply retaliation. This

                       punitive action reduced Plaintiffs annual bonus.

,February 25th:        Defendant Wardell visited the Spearfish store and refused to fix any of

                       Heiting's misconduct toward the store's employees, ratifying it all.

February 27th          Defendant Hall improperly denied Plaintiffs leave (pending the

                       investigation) request and Oia e-mail) instead sitmmarily suspended

                       Plaintiff without pay.

March 2nd:             Plaintiff was informed by email from Defendant Hall that she was

                       immediately terminating his employment, without explanation. Plaintiff

                       was not provided notice of; nor is he aware of any internal administrative

                       appeal mechanisms within the company regarding his termination.

The above is only a partial listing of Heiting's mistreated employees. Plaintiff repeatedly

contacted Julie Murphy, Wal-Mart USA's Vice-President for Personnel and Lance Lanciault

(Chief Ethics Official) for help. It was all in vain.

                                      CLAIM FOR RELIEF

             Breach of Employment Agreement/Unlawful Termination of Plaintiff
                               in Violation of Public Policy

15.    Plaintiff adopts by reference all the above information and allegations as though fully set

forth herein:

16.    Plaintiff, acting within the scope of his employment as a salaried managerfor Wal-Mart,

attempted. since October 2019 to protect several vulnerable employees at his store from store

management abuses.

17.    Beginning in January 2020, Plaintiff suffered increasing acts of whistleblower retaliation

from Defendant as a direct result of his protective efforts. This retaliation was in bad faith,


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malicious, intentional and contrary to both Wal-Mart HR policies and South Dakota public

policy. The retaliation dramatically increased in February of 2020. This included three meritless

counseling sessions, abusive directions, a dismal annual evaluation (with no explanation), denial

of an annual pay increase, an invented ethics citation, a reduction in his annual bonus, denial of

leave, suspension without pay (and without any discussion or recourse) and ultimately,

termination. The latter also may have been unlawful under Wal7Mart's personnel manual

because a low-level official such as Defendant Hall does not seem to have the authority to make

such a decision. Many of the above were undertaken after Plaintiff had filed a formal ethics

complaint with Wal-Mart Corporate.

18.    These actions breached the actual or implied employment agreement/relationship

between the parties. Defendant also violated its obligation (in every agreement) of good ,faith

and fair dealing. Defendant's tolerance for manager abuses, lack of concern over mistreatment

of its employees and retaliation against Plaintiff for objecting to Heiting's unethical and unlawfuj

actions, violates clear public policy in South Dakota and contradicts ,sentiments of the general

public at large. Heiting and his group acted with impermissible 'motives and reasons. They

acted in order to protect themselves from accountability for their misconduct. By firing Plaintiff,

they removed an obstacle to their continuing misconduct.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff, for himself and the victims he is seeking to protect, prays for judgment

as follows:

1..    Compensatory Damages for lost pay, bonus and benefits, in the iiresent amount of

$1,000, or accordingto proof as Plaintiff's weekly damages (loss of back/front pay) increases;




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2.     Declaratory relief in conformance with 21-24-1 in order to: (a) help and protect each of

the individual female and male employee-victims at the Spearfish store, (b) resuscitate Wal-

Mart'l contrived and non-credible internal 'audit practices, and (c) identify and remedy

Defendant's unfair labor practices under South Dakota law;

3.     A Final Injunction to remedy any and all Wal-Mart corporate misconduct in this case,

including (a) an Order directing Wal-Mart, Inc. and all its .affiliates to immediately begin

reporting all their prelhninary/final investigative findings in writing to every employee-victim,

and .(b) an Order that abolishes Wal-Mart's "Gag-Rule" on discussing and warning employees of

.a wide 'range of misconduct, threats, crimes and other unlawful behavior that might directly

impact them, their safety and Their welfare;

4.     An order of reinstatement for Plaintiff, with 'such protections and transfers of personnel as

the Court may deem necessary in order to prevent still further. retaliation and abuse;

S.     All other such relief that the Court is 'empoweted to grant and which it shall deem

.appropriate in order to correct and remedy Defendant's unethical and abusive practices; and

6.     Costs and interest as permitted by law.

                                      Respectfully submitted,




March 3, 2020                 By:
                                      MATT NASUTI
                                      Plaintiff, Pro, Sc
                                      810 North Main Street, #221
                                      Spearfish, S.D. 57783
                                      (413) 772-9802 (no voicemail)
                                      ma ffnacuti@hotrnaiLcom •




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Matt Nasuti
810 N. Main Street, #221 -
Spearfish, S.D. 57783                                                                         N  egosEDPAID
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                         . Pierre, S.D. 57501
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                    STATE OF SOUTH DAKOTA IN CIRCUIT COURT

               COUNTY OF LAWRENCE, FOURTH JUDICIAL CIRCUIT

    marr NASUTI,                                            1 Civil 20-45
                                                            1
                        Plaintiff,                          g First Amended Complaint for:
                                                            g (1) Breach of Employment
    VS.                                                     g Agreement; and            .
I
                                                            s (2) Retaliatory Discharge
    WALMART, INC.,
                                                            I
                                                              Request for Jury Trial
                         Defendant.                         1


                                     STATEMENT OF JURISDICTION

    1.        The Lawrence County Circuit Court has original jurisdiction over the causes of action. It

    has personal jurisdiction over the parties and it is the correct venue as all elements of the

    offenses occurred within this county and both parties reside and/or conduct business in this

    county.

    2.        Plaintiff is a South Dakota resident currently residing in Spearfish, S.D.

    3.        Defendant is a Delaware corporation, licensed to conduct business in South Dakota, with

    its headquarters located at 708 SW 8'h Street, Bentonville, Arkansas 72716. It conducts business

    in numerous South Dakota locations including: 2825 1ST Avenue, Spearfish, S.D. 57783.

                                                 SUMMARY

    4.     On March 2, 2020, Plaintiff, an Assistant Store Manager for Wal-Mart in Spearfish, was

    summarily fired after months of retaliation by Store Manager Corey Heiting and four local

    corrupt Wal-Mart officials. This was in direct and sole response to his efforts to convince

    Hefting, a bully, to cease his abusive and/or illegal conduct toward multiple male and female

    employees. That conduct included workplace violence of various types, intimidation,


                                                       1
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discrimination against female employees, refusal to accommodate an employee's disability,

unsafe working conditions, and just mean and cruel conduct.

5.     Internal efforts at the Corporate level to investigate all of this were rebuffed as Plaintiff

could not locate any Corporate official willing to authorize an investigation. The retaliation

against Plaintiff dramatically increased after he elevated and apparently because he elevated

Heiting's unethical and unlawful conduct to corporate officers at Wal-Mart's headquarters in

Bentonville, Arkansas.

6.     This lawsuit provides the Court and jury with an insider's view of the abusive and

unlawful environment of Wal-Mart. It correspondingly will permit both to do a lot of good for a

lot of wonderful people. These employees have no voice and no reasonable option other than to

suffer in their low-pay, high stress positions, turning the other cheek to management abuses and

corporate indifference. The male and female victims of this Store Manager and his group

continued to be abused. They have no credible remedies against this colossal corporate with its

armies of lawyers. It is a monstrously uneven playing field.

                         GENERAL BACKGROUND ALLEGATIONS

7.     On August 26, 2019, Plaintiff, a former USAF Captain, was hired as an Assistant Store

Manager by Wal-Mart, Inc. at store #1543 (Spearfish, S.D.) at an annual salary of $48,500.00.

There was no formal employment contract, only an e-mail offer that was electronically accepted.

8.     Wal-Mart, Inc. is perhaps the largest employer in Spearfish (approximately 300

employees). It has monopoly power throughout South Dakota, which is a violation of Title 37,

Chapter 1. This monopoly power, coupled with an intolerant, abusive and retaliatory

management structure, means that it has a largely cowed workforce, as people are fearful of

losing their jobs if they speak up.



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9.        Wal-Mar, Inc. has annual revenues of approximately $514 billion and gross profits of

$129 billion. Its store managers, with bonus, can earn more than a $1/4 million a year, its co-

managers in excess of $100,000 a year and its numerous assistant managers in excess of $64,000

a year.

          Despite the above, Wal-Mart, Inc. hires most employees at $12/hour, while its

competitors, such as Whole Foods, start employees at $15/hour. Wal-Mart also does not

guarantee to its full-time employees a 40-hour work-week. Currently the Spearfish store, due to

poor management, is over its budgeted hours, so most employees have seen their hours

arbitrarily cut to about 37 or 38 hours per week.

          Wal-Mart grudgingly awards most of its employees at most a 2% annual pay raise. With

the 2019 Social Security Administration cost of living (COLA) calculated at 2.8%, that means

that almost every Wal-Mart employee is losing money every year they stay at Wal-Mart

10.       Wal-Mart has a new Soviet-inspired policy called "Better Workday" in which the

workforce will be cut in Spearfish, with the remaining employees saddled with a larger daily

workload, for less money. It is "better" only for corporate finances. Under these hostile policies,

the stores can only function with ever increasing draconian and anti-union management, coupled

with upper management indifference. That recipe for abuse is the background to this case.

          INTRODUCTION TO WALMART CORPORATE "INVESTIGATIONS"

11.       WalMart, Inc. proclaims that it "investigates" all complaints of abuse, illegal conduct and

unethical behavior by its managers. As a result, there is no need for unions because WalMart

itself is protecting its employees. The reality is far different.

          All Wal-Mart company "investigations" appear to be conducted by its ethics office. The

victim files their complaint and is never advised of the results and findings. If any investigation



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is conducted, it is superficially and non-credibly carried out by telephone. Everything is

conducted in secret and the results covered-up, regardless of whether the complaint is about:

          (1)    Sexual harassment or abuse;
          (2)    Racial or other discrimination;
          (3)    Management union-busting efforts;
          (4)    Money laundering through our money transfer systems;
          (5)    Drug dealing;
          (6)    Workplace violence;
          (7)    Alcohol sold to minors;
          (8)    Missing ammunition; or
          (9)    Illegal gun sales.

This secrecy policy is company-driven, not legally mandated.

12.       After filing his management complaint, Plaintiff was ordered by Wal-Mart official kristi

Yarnall not to contact or attempt to locate any witnesses for his side! This "Gag-Rule," which

she referred to as part of the Wal-Mart Statement of Ethics (secrecy is ethical — transparency is

unethical), bars employees from discussing and warning other employees of a wide range of

misconduct, threats, crimes and other unlawful behavior that might directly impact them, their

safety and their welfare. It is so smothering that an employee or manager is barred from hiring

counsel and sharing any details with them! Wal-Mart's human relations policies compromise

workplace and public safety, and therefore violate public policy. This is especially true in the

case of Wal-Mart as it has monopoly power and no credible internal audit practices. These

types of blanket secrecy and un-transparency policies have not fared well legally. When

challenged, they have been repeatedly reversed or modified, which remedy is sought in this

action.

13.       Wal-Mart's Open Door/Ethics Complaint policy is simply a contrivance. There are

claims of confidentiality and assurances that there will be no retaliation but both are illusions, as

established in the case at bar. This policy creates the appearance that management abuses can be



                                                 4
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safely reported and will be investigated. The goal is to tamper down union-attractiveness by

creating the illusion that unions are not needed because Wal-Mart "cares." The reporting, as in

Plaintiff's case, is then used to identify, target and eliminate ethical and outspoken employees

from the workforce. As a contrivance, this policy violates South Dakota code section 60-9A-12.

14.                     THE SUSPECTS / CO-CONSPIRATORS

       Corey Heiting:         Spearfish Wal-Mart Store Manager

       Joshua Helm:           Spearfish Wal-Mart Store Co-Manager

       Manny Schryvers:       Spearfish Wal-Mart Store Co-Manager

       Ardie Wardell:         Wal-Mart Market 430 Manager (Sioux Falls)

       Kacie Hall:            Wal-Mart Market 430 Human Relations Manager (Sioux Falls)

15.                                           TIMELINE
Mid-Oct. 2019 -       Plaintiff began advising Heiting verbally and in e-mails to reverse his

February 2020:        his continuing abusive/illegal conduct regarding two female supervisors.

                      Heiting's conduct included discriminating against a female supervisor on

                      the basis of her sex (refusing to transfer her within the store, yet at the

                      same time he transferred a male employee who was in the same situation)

                      and then employing a disturbing hostility toward the female employee

                      with punishing personnel decisions.

                      Heiting was also intentionally and abusively keeping another female

                      supervisor in a store job that, due to her medical conduction/disability,

                      was causing her daily physical pain and suffering due to day-long heavy

                      lifting. That was just cruel and amounted to work-place violence. This

                      abuse would later expand to include his indifference toward another

                      employee who was subject to another verbally abusive and hostile male

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                 manager. It was so abusive that the employee was reduced to tears.

                 Heiting and his group refused to transfer the employee out of harm's way.

Jan. 10th &      In retaliation against Plaintiff for his efforts, Heiting and his Co-Managers

February 1st:    manufactured two counselings against him for alleged work performance

                 issues that never occurred. Heiting and company never reduce either to

                 writing because the "misconduct" never occurred.

February 3th:    Plaintiff emailed Heiting to report more abuse of store employees and was

                 called into yet another counseling session by Heiting and company.

February 14th:   Heiting and his Co-Managers issued Plaintiff a substandard evaluation,

                 which denied him a pay raise. It violated numerous Wal-Mart policies,

                 including that it does not explain why this punitive action is being taken.

February 18th:   Plaintiff filed an Ethics Complaint against Heiting & his Co-Managers

                 with Wal-Mart's ethics office and it's Executive VP for Personnel.

                 Defendants are immediately made aware of the filing. The matter was

                 allegedly assigned to a Kristi Yamall in Wal-Mart, Inc's Bentonville,

                 Arkansas office. She never did anything that Plaintiff was aware of. She

                 informed Plaintiff in writing that if she investigates, all investigations are

                 conducted remotely by telephone.

February 24th:   Heiting and his Co-Managers issued Plaintiff an "Orange" Ethics

                 Disciplinary Citation in retaliation for his ethics complaint. The document

                 on its face reveals no ethics violation. It was simply retaliation. This

                 punitive action reduced Plaintiff's annual bonus.




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February 25th:        Defendant Wardell visited the Spearfish store and refused to fix any of

                      Heiting's misconduct toward the store's employees, ratifying it all.        •

February 27th:        Defendant Hall wrongfully denied Plaintiffs leave request and instead

                      summarily suspended Plaintiff without pay.

March 2nd:            Plaintiff was informed by email from Defendant Hall that she was

                      immediately terminating his employment, without explanation. Plaintiff

                      was not provided notice of, nor is he aware of any internal administrative

                      appeal mechanisms within the company regarding his termination. After

                      receipt of this notice, Plaintiff was abandoned by his Ethics Case

                      Manager, Kristi Yarnall, who never contacted him again.

March 9th:            At 11:56 a.m., Plaintiff received an insulting e-mail from "Cal" (no last

                      name) at Wal-Mart's Global Ethics office inquiring if Plaintiff had ever

                      talked over his concerns with his store manager. Cal either never read or

                      just ignored Plaintiffs complaint. Corporate does not even pretend to read

                      the complaints or investigate them. Eight minutes after Cal's e-mail,

                      Plaintiff received a formal notice closing out his ethics case with no

                      explanation.

Plaintiff repeatedly and in vain contacted Julie Murphy, Wal-Mart Vice-President for Personnel

and Lance Lanciault (Chief Ethics Official) for help.

                               FIRST CLAIM FOR RELIEF
                       Breach of Employment Agreement/Relationship
                                 in Violation of Public Policy

16.    Plaintiff adopts by reference all the above information and allegations as though fully set

forth herein.



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17.    Plaintiff, acting within the scope of his employment as a salaried manager for Wal-Mart,

attempted since October 2019 to protect several vulnerable employees at his store from store

management abuses.

18.    Beginning in January 2020, Plaintiff suffered increasing acts of whistleblower retaliation

from Defendant as a direct result of his protective efforts. This retaliation was in bad faith,

malicious, intentional and contrary to both Wal-Mart's published human relations policies and

South Dakota public policy. The retaliation dramatically increased in February of 2020. This

included three meritless counseling sessions, abusive directions, a dismal annual evaluation (with

no explanation), denial of an annual pay increase, an invented ethics citation, a reduction in his

annual bonus, denial of leave, suspension without pay (and without any discussion or recourse)

and ultimately, termination. The latter also may have been unlawful under Wal-Mart's personnel

manual because a low-level official such as Defendant Hall does not seem to have the authority

to make such a decision. Many of the above were undertaken after Plaintiff had filed a formal

ethics complaint with Wal-Mart Corporate.

19.    Defendant's unlawful activities included:

(a)    Discrimination in violation of the South Dakota Human Relations Act, specifically

Chapter 20-13, and 20-13-1 (16) unfair or discriminatory practices, and 20-13-26.

(b)    Abusing a female employee with a known medical disability by keeping her in a "heavy

job" (SDLRC Rule 20:03:09:05) that was causing her daily pain, suffering and presumably

injury [in violation of 20-13-26];

(c)    Supporting work-place violence, which includes any verbal abuse and/or pain & suffering

and injuries intentionally caused by management;




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(d)    Violating Chapters 20-9-1 and 20-9-6, which guarantee all persons the right to be free

from bodily harm and injury caused by another person;

       Violating Chapter 60-2-3 (employer negligence);

       Violating Chapter 60-12-21 (wage discrimination);

       Violating Chapter 60-8-1 (intimidation, a company-wide practice);

(g)    Defendant violated the universal common law guarantee that all employees are to be

provided with a safe and healthy workplace environment. See the United Nation's International

Covenant on Economic. Social and Cultural Rights (1966), [not yet ratified by the U.S.

Congress]. This is the underlying basis for the whole concept in South Dakota of Workers

Compensation (for workplace injuries).

20.    Defendant's actions breached the actual or implied employment agreement/relationship

between the parties. Defendant also violated its obligation (in every agreement) of good faith

and fair dealing. Defendant's tolerance for manager abuses, lack of concern over mistreatment

of its employees and retaliation against Plaintiff for objecting to Heiting's unethical and unlawful

actions, violates clear public policy in South Dakota and contradicts sentiments of the general

public at large. Heiting and his group acted with impermissible motives and reasons. They

acted in order to protect themselves from accountability for their misconduct. By firing Plaintiff,

they removed an obstacle to their continuing misconduct.

21.    Plaintiff's termination was unlawful for multiple reasons, including because it was

retaliatory, contrary to Wal-Mart's own personnel manual/policies and it violated one or more

"substantial public policy principles" and therefore is actionable (Johnson v. Kreiser's Inc., 433

N.W. 2d 225 (S.D. 1988). It was also unlawful under Wal-Mart's personnel manual or

equivalent because a low-level official such as Defendant Hall did not have the delegated



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corporate authority to make such a decision. Many of the above were undertaken after Plaintiff

had filed a formal ethics complaint with Wal-Mart Corporate.

                      SECOND (Alternative) CLAIM FOR RELIEF
                        Public Policy Tort of Retaliatory Discharge
                Tiede v. Cortrust Bank. N.A. 748 N.W. 2d 748 (S.D. 2008)
      Hallberg v. South Dakota Board of Regents et al, 12/31/19, S.D. Supreme Court

22     Plaintiff adopts by reference all the above information and allegations as though fully set

forth herein.

23.    Plaintiff, as a salaried manager for Wal-Mart, attempted since October 2019 to protect

several vulnerable employees at his store from store management abuses.

24.    Beginning in January 2020, Plaintiff suffered increasing acts of whistleblower retaliation

from Defendant as a direct result of his protective efforts. This retaliation was in bad faith,

malicious, intentional and contrary to both Wal-Mart human relations policies and South Dakota

public policy. The retaliation dramatically increased in February of 2020. This included three

meritless counseling sessions, abusive directions, a dismal annual evaluation (with no

explanation), denial of an annual pay increase, an invented ethics citation, a reduction in his

annual bonus, denial of leave, suspension without pay (and without any discussion or recourse)

and ultimately, termination.

25.    Plaintiffs termination was unlawful for multiple reasons, including that it was retaliatory,

contrary to Wal-Mart's own personnel manual/policies and it violated one or more "substantial

public policy principles" and therefore is actionable (Johnson v. Kreiser's Inc., 433 N.W. 2d 225

(S.D. 1988). It was also unlawful under Wal-Mart's personnel manual or equivalent because a

low-level official such as Defendant Hall did not have the delegated corporate authority to make

such a decision. Many of the above were undertaken after Plaintiff had filed a formal ethics

complaint with Wal-Mart Corporate.


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26.    Defendant's unlawful activities included:

(a)    Discrimination in violation of the South Dakota Human Relations Act, specifically

Chapter 20-13, and 20-13-1 (16) unfair or discriminatory practices, and 20-13-26.

(b)    Abusing a female employee with a known medical disability by keeping her in a "heavy

job" (SDLRC Rule 20:03:09:05) that was causing her daily pain, suffering and presumably

injury [in violation of 20-13-26];

(c)    Supporting work-place violence, which includes any verbal abuse and/or pain & suffering

and injuries intentionally caused by management;

(d)    Violating Chapters 20-9-1 and 20-9-6, which guarantee all persons the right to be free

from bodily harm and injury caused by another person;

(e)    Violating Chapter 60-2-3 (employer negligence);

(0     Violating Chapter 60-12-21 (wage discrimination);

(0     Violating Chapter 60-8-1 (intimidation, a company-wide practice);

(0     Defendant violated the universal common law guarantee that all employees are to be

provided with a safe and healthy workplace environment. See the United Nation's International

Covenant on Economic. Social and Cultural Rights (1966), [not yet ratified by the U.S.

Congress]. This is the underlying basis for the whole concept in South Dakota of Workers

Compensation (for workplace injuries).

27.    Defendant's actions, which ultimately included Plaintiff's summary termination with no

appeal rights, were wrongful, tortuous and were caused solely and/or primarily as a retaliation

for Plaintiff's whistle-blowing activities which were in furtherance of one or more clear

mandates of public policy and/or common law in South Dakota.




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28.     Defendant's tolerance for manager abuses, lack of concern over mistreatment of its

employees and retaliation against Plaintiff for objecting to Heiting's unethical and unlawful

actions, violates clear public policy in South Dakota and contradicts sentiments of the general

public at large. Heiting and his group acted with impermissible motives and reasons. They

acted in order to protect themselves from accountability for their misconduct. By firing Plaintiff,

they removed an obstacle to their continuing misconduct.

29.    Defendant/acted intentionally, with bad faith and with malice. Defendant acted

predatorily, with absolutely no fear of consequences, with a lack of conscious, and in callous

disregard for the well-being and self-respect of Plaintiff and numerous female and male

employees at the Spearfish store.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff; for himself and the victims he is seeking to protect, prays for judgment

as follows:

I.     Compensatory Damages for lost pay, bonus and benefits, in the present amount of

$1,000, or according to proof as Plaintiff's weekly damages (loss of back/front pay) increases;

2.     Punitive/Exemplary Damages in an amount necessary to both punish and convince

Defendant that it must not again act with oppression, malice and intimidation with its employees;

3.     Declaratory relief in conformance with 21-24-1 in order to: (a) help and protect each of

the individual female and male employee-victims at the Spearfish store, (b) resuscitate Wal-

Mart's contrived and non-credible internal audit practices, and (c) identify and remedy

Defendant's unfair labor practices under South Dakota law;

4.     A Final Injunction to remedy any and all Wal-Mart corporate misconduct in this case,

including an Order directing Wal-Mart, Inc. and all its affiliates/subsidiaries:



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Matt Nasuti v. Wal-Mart, Inc. Civil # 20-45 (Circuit Court, Laurence County)


                                   Certificate of Service


I am over the age of eighteen years. My mailing address is 81. 0 N. Main Street, #221, Spearfish,

S.D. 57783. On March 11, 2020, I will serve the following document:

First Amended Complaint for: (1) Breach of Employment Agreement; and
(2) Retaliatory Discharge

on the following persons by USPS first class mail:

CT Corporation System
319 South Coteau Street
Pierre, S.D. 57501
Registered Agent for Defendant WalMart, Inc.



 •M.I•

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Matt Nasuti




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(a) to immediately end most remote investigations, especially where witness credibility has to be

assessed, as telephone interviews are not credible,

(b) to immediately begin reporting all their preliminary/final investigative findings in writing to

every employee-victim,

(c) to immediately cease informing their employees that Wal-Mart has either a confidentiality

component or a anti-retaliation component to either its Open Door or Ethics Complaint

processes, and

(d) an Order that abolishes or modifies Wal-Mart's "Gag-Rule" on discussing and warning

employees of a wide range of reported misconduct, threats, crimes and other unlawful behavior

that might directly impact them, their safety and their welfare;

5.     An order of reinstatement for Plaintiff, with such protections and transfers of personnel as

the Court may deem necessary in order to prevent still further retaliation and abuse;

6.     All other such relief that the Court is empowered to grant and which it shall deem

appropriate in order to correct and remedy Defendant's unethical and abusive practices; and

7.     Costs and interest as permitted by law.

                                      Respectfully submitted,




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March 11,2020                 By:
                                      MATT NASUTI
                                      Plaintiff, Pro Se
                                      810 North Main Street, #221
                                      Spearfish, S.D. 57783
                                      (413) 772-9802 (no voicemail)
                                      matinasuti@hoimait coin




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